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                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF SOUTH DAKOTA

                                        CENTRAL DIVISION


UNITED STATES OF AMERICA,                                    3: 14-CR-3000 1-0 1-02-03-RAL

                       Plaintiff,

                                                        OPINION AND ORDER GRANTING IN
       vs.                                                PART RESTITUTION REQUESTS

BILL YRA Y MCCLOSKEY, .
RILEY MCCLOSKEY,
and CRYSTAL RED HAWK,

                       Defendants.



       At the times when this Court sentenced each of the Defendants in this case, the issue of

the amounts of restitution was left open for later decision. On January 21,2015, the Government

submitted a letter setting forth a restitution request, to which was attached handwritten

calculations without any receipts. The Defendants each objected to the amount of restitution

being sought. On February 23, 2015, this Court held an evidentiary hearing on the amount of

restitution to be awarded.

       The section of the Mandatory Victims Restitution Act (MVRA) at issue is 18 U.S.c. §

3663A(b)(3), which for a case "of an offense resulting in bodily injury that results in the death of

the victim," the court is to require defendants to "pay an amount equal to the cost of necessary

funeral and related services." The Defendants in this case murdered Benjamin Clifford and

Calvin Kills In Water, Jr. The families of these two victims are entitled to "an amount equal to

the cost of necessary funeral and related services."



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       Calvin Kills In Water, Sr. submitted a sheet of calculations for funeral and wake costs

and then a figure for a one-year memorial for his son, but with no receipts and with round figures

suggesting that the figures were estimates or guesses at actual costs. Calvin Kills In Water, Sr.

chose not to attend the February 23, 2015 hearing for the understandable reasons that he felt

himself not emotionally able to withstand another trip to federal court; he has been in court in

cOJUlection with this case previously and has been visibly distraught in dealing with the utterly

senseless, brutal, and heartless murder of his son.    Sadly, criminal cases involving deaths in

Indian country are not unusual in this Court. The Government provided in its letter information

on the average cost of Native American traditional funerals, and the Defendants and the

Government agreed that $7,000.00 was an appropriate amount for "the cost of necessary funeral

and related services" under § 3663A(b)(3). Absent testimony regarding the plans for a one-year

memorial, especially now that more than one year has elapsed since the murders, this Court does

not feel comfortable extending restitution under these circumstances to a memorial as well . The

$7,000.00 amount likely is low, but there was no testimony at the hearing to justify a higher

amount.

       As concerns Benjamin Clifford's funeral, wake, and one-year memorial, this Court heard

testimony from two of Benjamin Clifford's siblings.         In Lakota Indian culture, the larger

community often is involved in meals, and the family has giveaways to honor and remember

their deceased loved one often at a memorial service held one year following the death. This

Court has awarded restitution for expenses for such events, and the United States Court of

Appeals for the Eighth Circuit has recognized the propriety of doing so. United States v. Iron

Cloud, 312 F.3d 379 (8th Cir. 2002) (determining $3,000.00 for traditional Native American

giveaway ceremony in commemoration of a victim to be "necessary funeral or related service"



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 under MVRA). However, travel and motel expenses for those attending the funeral, wake and

 later memorial service do not qualify as "necessary funeral or related service."

        The siblings of Benjamin Clifford testified to expenses incurred and plans for a May of

2015 memorial for Benjamin Clifford and about some expenses for the funeral and wake.

Binding that testimony with what the Government proffered as average expenses, the appropriate

amount of restitution $1,300.00 for headstone, $1,500.00 for funeral director, $2,300.00 for

casket, $1,600.00 for meal expenses for wake and funeral , $300.00 for drum group, $300.00 for

flowers , $4,500.00 for giveaways at funeral and wake, and $3,900.00 for memorial services

expenses and giveaways, for a total of $15,700.00.

        Therefore, it is hereby

        ORDERED that amended judgments be prepared to require each Defendant, jointly and

severally, to pay restitution of $7,000.00 to Calvin Kills In Water, Sr., and $15,700.00 to Calvin

Iron Shell/Sarah Clifford, with the payments divided proportionately between the payees, with

the usual percentage withheld from the prisoner's inmate funds, and with remaining amounts

paid in increments of $250.00 per month beginning 60 days after any release of any Defendant

from prison.

        DATED this 24th day of February, 2015.

                                              BY THE COURT:




                                               ROBERTO A. LAN E
                                               UNITED STATES DISTRICT JUDGE




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